           Case 2:18-mj-01149-DUTY                         Document 1       Filed 05/10/18        Page 1 of 45 Page ID #:1


 no 9i cRe~. iiis2~                                         CRIMINAL COMPLAINT
            UNITED STATES DISTRICT COURT                                           CENTRAL DISTRICT OF CALIFORNIA

                                                                            DOCKET NO.
                ITNITED STATES OF AMERICA
                                v.
                       ARMAN GABAEE, ~                                      ~,GISTx~~°s ~sE~
                  also known as "Arman Gaba                                                             ~        ~        ~~~~ `~


                              Complaint for Violation of Title 18, United States Code, Section 666(a)(2)

NAME OF MAGISTRATE NDGE                                                                                         LOCATION
                                                                            UNITED STATES
                           ALEXA{~~'ER F. Ma~:iCiNNON                       MAGISTRATE JUDGE                    Los Angeles, CA

DATE OF OFFENSE                                   PLACE OF OFFENSE          ADDRESS OF ACCUSED (IF KN
                                                                                                                         FILED
December 20, 2016                                 Los Angeles County                                        -    E~ S. D~STR~CT COURT

COMPLAIN~IN"I"S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:                                         MAY    I O 2OI8


                                                              [18 U.S.C. § 666(a)(2)]                       CENFRAI DISTRICT pF CAtI€ORNiA
                                                                                                                                      P 1Y
        On or about December 20, 2016,in Los Angeles County("County"), within the Central District of
California, defendant ARMAN GABAEE,also known as "Arman Gabay," corruptly gave, offered, and agreed
to give a thing of value, that is, $1,500 in United States currency, to Cooperating Witness 1("CW 1")intending
to influence and reward ~W1 in connection with a transaction and series of transactions of the County
involving $~r;,000~o~ more, namely, the awarding of one or more County contracts.
             ~~
             ~.;
            ~      ;.
 ~~         `=


  C]                __        M,
  ~
  ~.~.~
  ~~                          ~ .
                            '~;
                             ~,
                      c~

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

          (See attached affidavit, which is incorporated as part of this Complaint.)

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N~A

                                                            SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the
                                                            BRIAN C. ADKINS /S
foregoing is true and correct to the best
of my knowledge.                                            oFFic~.L TiTLa
                                                            S ecial Agent, Federal Bureau ofInvestigation
Sworn to before me and subscribed in my presence,

SIGNATURE OF MAGISTRATE JUDGE~~~                                                                                     DATE

                  R ~,EX~~;~ER F. f~~c~i~~~~~d                                                                        ~ I0~20/~
~~> See Federal Rules of Criminal Procedure 3 and 54
AUSAs Ruth C. Pinkel(x6077) and Lindsey Greer Dotson(x4443)                   REC: Detention
Case 2:18-mj-01149-DUTY   Document 1       Filed 05/10/18   Page 2 of 45 Page ID #:2




                            Table of Contents

I.    INTRODUCTION ............................................1

II.   PURPOSE OF AFFIDAVIT ................. ................... 1

III. SUMMARY OF PROBABLE CAUSE ...............................2

IV.   STATEMENT OF PROBABLE CAUSE .............................3

      A.    Background ......................................... 3

      B.   GABAEE Begins Paying Bribes to CWl for
           County Leases, Non-Public County Information,
           and Other Benefits .............................. ...5

      C.   During a Recorded Meeting, GABAEE Pays CW1
           a $1,500 Cash Bribe in Exchange for Official
           Acts Related to GABAEE's Hawthorne Mall
           Development Project ................................ 7

      D.   During a Recorded Meeting, GABAEE Pays CWl
           Another $1,500 Cash Bribe in Exchange for
           Official Acts Related to GABAEE's Hawthorne
           Mall Development Project .......................... 12

      E.   During a Recorded Meeting, GABAEE Pays CWl
           a $1,000 Cash Bribe and Offers to Purchase
           a Ranch in Northern California for CWl in
           Exchange for Official Acts Related to GABAEE's
           Hawthorne Mall Development Project ................ 14

      F.   During a Recorded Meeting, CWl and GABAEE
           Discuss Details Regarding GABAEE's Proposal
           to Purchase a Property in Northern California
           as a Bribe for CWl ........................... . .... 15

      G.   During a Recorded Meeting, GABAEE Pays CWl
           Another $1,000 Cash Bribe and Says That He
           Is Looking "Hot and Heavy" for a Property
           in Northern California for CWl .................... 17

      H.   Following His Meeting With CWl, GABAEE
           Immediately Attempts to Locate a Property
           in Northern California ... . .... .................. .. 21

      I.   GABAEE Says That He Met with the "County"
           and That CWl Is Going to "Push" to Get the
           DPSS Lease Signed ........ . ........................ 23

      J.   GABAEE Gives CWl Real Estate Listings for
           Northern California Properties Valued at
           Around $1,000,000 ................................. 24



                                       i
Case 2:18-mj-01149-DUTY   Document 1        Filed 05/10/18   Page 3 of 45 Page ID #:3




      K.    GABAEE Tells a Local Official That He "Took
            Care of the County" and Expects to Receive
            a "New Lease" ..................................... 25

      L.    GABAEE Offers to Purchase the Barnes Road
            Property, Listed for $1,199,000, in Northern
            California for CWl ................................ 26

      M.   CWl Tells GABAEE the DPSS Lease for the
           Hawthorne Mall Is Forthcoming and Inquires
           About the Status of GABAEE's Offer to Purchase
           the Barnes Road Property ..................... ..... 28

      N.   GABAEE Tells CW1 That the Barnes Road Property
           Is Already in Escrow and Offers to Purchase
           Another Property in Northern California for
           CWl Instead ....................................... 29

      O.   During a Recorded Meeting, GABAEE and CWl
           Discuss the Status of the DPSS Lease for the
           Hawthorne Mall and GABAEE's Offer to Purchase
           a Property in Northern California for CWl;
           GABAEE Pays CW1 a $900 Cash Bribe ................. 30

      P.   CWl "Push[es] Hard" to Get the 10-Year DPSS
           Lease for GABAEE; GABAEE Is Thankful and
           Continues to Try to Purchase a Property in
           Northern California for CWl ....................... 32

      Q.   CWl Hands GABAEE the $45 Million DPSS Lease
           for the Hawthorne Mall; GABAEE Responds by
           Telling CWl That He Is Making an Offer to
           Purchase the $1,095,000 Annadel Heights
           Property in Northern California for CW1 ........... 36

      R.   GABAEE Makes Two Offers to Purchase the
           Annadel Heights Property as a Bribe for CW1 .......40

V.    CONCLUSION ........................... ..................42




                                       ii
Case 2:18-mj-01149-DUTY    Document 1       Filed 05/10/18   Page 4 of 45 Page ID #:4




                                   AFFIDAVIT

        I, BRIAN C. ADKINS, being duly sworn, declare and state as

follows:

                              I.   INTRODUCTION

        1.    I am a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI"), and have been so employed since June

2010.      I am currently assigned to a public corruption squad.

During my employment with the FBI, I have received training on

the investigation of public corruption and other white collar

crimes and have participated in multiple investigations of

public officials, including investigations involving bribery,

extortion, mail and wire fraud, and obstruction of justice.                   I

have conducted covert investigations of public officials,

including by conducting physical and electronic surveillance.                     I

have served as the affiant for affidavits seeking authorization

to intercept wire communications and monitored the interception

of wire communications.       I have questioned suspects and

witnesses, served as the handling agent for confidential sources

or informants, conducted financial analyses, reviewed and seized

evidence, and executed search and arrest warrants.                 I have also

served as an affiant for a complaint affidavit and arrest

warrant.

                          II. PURPOSE OF AFFIDAVIT

      2.     This affidavit is made in support of a criminal

complaint against, and arrest warrant for, ARMAN GABAEE, also

known as Arman Gabay ("GABAEE"), for a violation of 18 U.S.C.

§ 666(a)(2) (Federal Program Bribery).



                                        1
Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18     Page 5 of 45 Page ID #:5




      3.    The facts set forth in this affidavit are based upon

my personal observations, my involvement in this investigation,

information obtained from various law enforcement personnel and

witnesses, and my training and experience.              This affidavit is

intended to show merely that there is sufficient probable cause

for the requested complaint and arrest warrant and does not

purport to set forth all of my knowledge of the investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                    III. Si]MMARY OF PROBABLE CAUSE

      4.    Based on my personal observations, my involvement in

this investigation, information obtained from various law

enforcement personnel and witnesses, and my training and

experience, I am aware that GABAEE is a real estate developer

who, for over six years, paid a County of Los Angeles ("County")

employee cash bribes of approximately $1,000 each month in

exchange for County leases, non-public information, and other

benefits.    That employee, also known as Cooperating Witness 1

("CWl"), consensually recorded multiple bribe payments from

GABAEE.

      5.    In addition, GABAEE offered to purchase a residential

property in Northern California, listed at over $1,000,000, as a

bribe for CWl.    GABAEE offered this bribe in exchange for CWl's

assistance securing a $45 million County lease for GABAEE's

Hawthorne Mall Development Project.        Based on recorded meetings,

intercepted communications obtained pursuant to two federal
Case 2:18-mj-01149-DUTY   Document 1       Filed 05/10/18   Page 6 of 45 Page ID #:6




wiretap orders, and my involvement in this investigation, I know

that GABAEE sought to have the County rent space for the

Department of Public Social Services ("DPSS"), as well as other

County departments and/or agencies, in the Hawthorne Mall, which

GABAEE owned through one of his companies.              GABAEE eventually

placed two offers on a residential property in Northern

California, listed for $1,095,000, in exchange for CWl helping

to secure the $45 million DPSS lease for GABAEE, among other

things.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.    Background

     6.    Based on my involvement in this investigation, I am

aware that GABAEE is a real estate developer who conducts

business with the County and other local governments.                 GABAEE is

the co-managing partner and co-founder of the Charles Company.

According to its websitel, which I have reviewed, the Charles

Company is a real estate development company that develops and

maintains commercial and residential real estate projects,

including shopping malls and buildings leased to the County.

The website touts the Charles Company as a "real estate

development partnership unlike any other."              According to the

website, GABAEE "has many valued relationships with numerous

public and private tenant entities, creating a receptive tenant

base for Charles Company projects."

     7.    Based on my involvement in this investigation and



     1 http://www.charles-company.com/company-profile/ (last
visited on or about May 4, 2018).


                                       3
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 7 of 45 Page ID #:7




conversations with CWl, I am aware that CWl was a public

official employed by the County during the events referenced in

this affidavit.z    CWl's duties involved negotiating leases

between private building and property owners and various County

departments.    CWl was also able to request end receive proposals

from private real estate developers who wanted to lease their

buildings to County departments.         Once a property was identified

for a County department in need of space, CW1 was able to

negotiate lease terms and draft lease agreements for the County

and private property owners, or direct others to do so.              Based

on CWl's level of seniority, CWl had significant autonomy to

contractually bind the County.         Furthermore, in CWl's capacity

as a public official employed by the County, CWl owed a



      2 According to the National Crime Information Center, as of
May 8, 2018, CWl has no criminal history. CWl agreed to
cooperate in this investigation, because CWl wants the federal
government to take CW1's cooperation into consideration when
addressing certain illegal acts CW1 has admitted to committing.
CWl has acknowledged accepting numerous bribe payments from
GABAEE and others. CWl also has acknowledged committing, or
attempting to commit, bankruptcy fraud and tax fraud in the
past.   Furthermore, I am aware that CWl's employer suspended
CW1, in  part, because CWl's employer believes CW1 had an
inappropriate relationship with at least one real estate
developer. CWl retired after the suspension. CWl has admitted
to lying to FBI Special Agents in regard to this investigation
prior to CWl's cooperation with the FBI. At the beginning of
CW1's cooperation, FBI Special Agents believed CW1 may have
withheld information. On one occasion, during a debrief of CWl,
FBI Special Agents noticed the scent of marijuana emanating from
CWl's vehicle. The FBI has not paid CWl any money, nor has the
FBI promised to pay money in exchange for CWl's cooperation.
Despite my belief that CWl may have withheld information in the
past, I have found the information CWl has provided me about
GABAEE to be reliable, because much of it has been corroborated
by my investigation, recorded conversations, and phone records.
Additionally, although it appears CWl may have withheld
information, I have no reason to believe that CWl is fabricating
the incriminating information CWl has provided to the FBI.
Case 2:18-mj-01149-DUTY   Document 1       Filed 05/10/18   Page 8 of 45 Page ID #:8




fiduciary duty to the citizens of the County and CWl's employer

to perform the duties and responsibilities of CWl's office free

from bias, conflicts of interest, self-enrichment, self-dealing,

concealment, deceit, fraud, kickbacks, and bribery.

      8.     According to CW1, and based on open source database

searches including the Los Angeles County Board of Supervisors

(the "Board") meeting minutes, I am aware that the United States

government provides federal assistance to various County

departments, including DPSS, every year=--a portion of which is

used to cover some of the County departments' lease expenses.

The aggregate amount of federal funding received by those County

departments exceeds $10,000 per year.

      B.     GABAEE Begins Paying Bribes to CW1 for County Leases,
             Non-Public County Information, and Other Benefits

      9.     Based on my conversations with CWl, I am aware that,

sometime between 2000 and 2005, GABAEE began to seek improper

assistance from CWl in the course of conducting his (GABAEE's)

real estate business with the County.             During this time, GABAEE

had a lease pending approval before the Board.                The lease called

for DPSS to occupy a portion of the Hawthorne Mall, which GABAEE

owned.     The Board ultimately voted to approve the lease, but the

approval came over a year after it was initially presented to

the Board.     CWl believed that the delay on the DPSS Hawthorne

Mall lease served as the catalyst for GABAEE to seek influence

and non-public County information about County leases from CWl.

GABAEE did not compensate CWl for assistance and non-public

County information at this time.




                                       5
 Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18   Page 9 of 45 Page ID #:9




       10.   Based on my conversations with CWl, I am aware that,

 in approximately 2010 or 2011, GABAEE began giving cash payments

__ to CWl.   From around that time, to on or about April 11, 2017,

 GABAEE gave CWl monthly cash payments of approximately $1,000,

 if not more.    The relationship between CWl and GABAEE changed

 shortly after CWl began accepting these monthly payments.              It

 went from that of a friendship to an improper business

 relationship, wherein CWl would provide assistance to GABAEE in

 return for GABAEE's monthly payments.

       11.   According to CWl, the assistance that CW1 provided to

 GABAEE in return for the $1,000 monthly payments included the

 following: (a) CWl providing non-public County information to

 GABAEE; (b) CWl giving added attention to, and performing

 official acts for, GABAEE with regard to GABAEE's existing and

 potential leases with the County3; and (c) CWl "running

 interference" between GABAEE and various County departments

 leasing space from GABAEE where issues have arisen within the

 occupied properties.4




      3 Based on conversations with CWl, I am aware that CWl
 received proposals in the past that were in direct competition
 with GABAEE's. CWl, however, did not have a similar
 relationship with the individuals submitting the competing
 proposals and therefore did not provide the same level of
 attention to those individuals that CWl gave to GABAEE.
      4 CWl recalled a meeting he had in approximately 2011 with
 GABAEE and another individual from the Charles Company, in which
 they discussed the fact that the Charles Company was receiving
 millions of dollars in County lease payments, but they (GABAEE
 and the other individual) were not fixing small problems that
 had arisen with the properties. The problems included items
 such as broken elevators and roof leaks.  Instead of incurring
 repair costs, GABAEE relied heavily on CWl to address the issues
Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18   Page 10 of 45 Page ID #:10




       C.    During a Recorded Meeting, GABAEE Pays CW1 a $1,500
             Cash Bribe in Exchange for Official Acts Related
             to GABAEE's Hawthorne Mall Development Project

       12.   On or about December 16, 2016, CW1 began cooperating

 with the federal government and agreed to record conversations

 with GABAEE and others.s

       13.   On or about December 19, 2016, CW1 placed a

 consensually recorded outgoing telephone call, utilizing the

 FBI's iTacc system6, to GABAEE's Phoney to schedule a meeting




 with the departments occupying the properties by deflecting
 blame away from GABAEE and onto independent contractors.
      5 Descriptions of recorded conversations are summaries based
 on my review of the recordings, understanding of the context of
 the recorded conversations, knowledge of this case, and my
 training and experience. These descriptions are not based on a
 final, verbatim transcript, and at times, I have included draft
 excerpts transcribed by myself and FBI Special Agent Michael
 Torbic ("SA Torbic"). I have placed my understanding of what is
 being said in brackets within the quotes. In addition, where a
 portion of a conversation was unintelligible to me at the time,
 I have indicated as such with "UI." Since this affidavit is
 offered for a limited purpose, I have not included a description
 of every topic discussed or every statement contained in the
 recorded conversations.
      6 The FBI's iTacc system allows the consenting party to call
 a central switchboard to place outgoing phone calls that are
 consensually recorded and later reviewed by the FBI. Either I
 or SA Torbic reviewed all phone calls referenced herein that
 utilized the iTacc system.  For calls placed before December 28,
 2016 that utilized the iTacc system, either I or SA Torbic
 confirmed through toll records that the phone call was made to
 GABAEE's Phone.  For calls placed on or after December 28, 2016,
 either I or SA Torbic confirmed through pen register data that
 the phone call was made to GABAEE's Phone. The FBI obtained the
 pen register data pursuant to an order signed by the Honorable
 Frederick F. Mumm in No. 16-2516M authorizing the installation
 and use of a pen register and trap and trace device on GABAEE's
 Phone.
        I am aware that the telephone number dialed belongs to
 GABAEE based on my review of subscriber records and involvement
 in this investigation. Throughout this investigation, I have
 also become familiar with GABAEE's voice and recognize his voice




                                       7
Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18   Page 11 of 45 Page ID #:11




 between CW1 and GABAEE for the following day.            During the

 telephone call, the following conversation took place:



       C~nl1: Hey, buddy.   What's going on?

       AG:   Not much, man.    How are you doing?       Are you in town?

       CWl: Busy.     Yeah, I'm in town.     I'm not going anywhere.

             What's the chance to get together tomorrow?

       AG:   Yeah, I gotta catch up with you, you know.           So I want

             to talk to you regarding uh...regarding

             uh...Hawthorne.    Things have heated up and...we need

             to .see what we can do, go, go, go and get that lease

             going.

       14.   Based on my conversations with CW1, review of this

 conversation, and involvement in this investigation, I believe

 that GABAEE was seeking a long-term lease with the County,

 wherein the County would lease space for DPSS in the Hawthorne

 Mall, which GABAEE owned and was redeveloping through one of his

 companies.9    When GABAEE said that he wanted to "get that lease

 going," I understand that he wanted the County to lease space

 for DPSS in the Hawthorne Mall.       I believe GABAEE wanted to

 "catch up" with CWl in order to give CWl the monthly bribe

 payment and to get CWl's assistance to secure the DPSS lease,


 on the recorded telephone calls referenced throughout this
 affidavit.
       8 "AG" refers to GABAEE.
      9 The County had previously leased space for DPSS and the
 Department of Community and Senior Services in or around the
 Hawthorne Mall; however, that lease was set to expire in or
 around August 2017. As such, GABAEE was seeking a new lease
 with the County for those departments.
Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18   Page 12 of 45 Page ID #:12




 among other things.      CWl and GABAEE agreed to meet the following

 day, December 20, 2016.

       15.   Based on my personal observations and involvement in

 this investigation, I am aware that, on or about December 20,

 2016, the FBI provided CWl with recording devices in preparation

 for CWl's meeting with GABAEE.        At approximately 11:52 a.m. that

 day, GABAEE arrived at CWl's office.          CWl then exited his/her

 office building and got into GABAEE's car with GABAEE.

       16.   Based on my review of the audio and video recording of

 that meeting and conversations with CWl, I am aware that CW1 and

 GABAEE began discussing GABAEE's Hawthorne Mall Development

 Project and the fact that GABAEE had drawn up development plans

 for the project, which I believe GABAEE handed to CWl during

 this meeting.    During their conversation, the following exchange

 took place:

       CWl: The problem with these, with these proposals is...we

             don't have any approved SREs [Space Request

             Evaluations] or anything like this...

       AG:   That's what I'm saying, you need to get the SREs...

       CWl: ...the departments got to get their act together.

       AG:   ...that's what I'm talking about.

       CWl: Well, I can ask the departments to do that.

       AG:   That's all I'm asking, nothing else.

       CW1: So, that's all I can do.

       AG:   That's all I'm asking.        I'm not asking for anything

             else right now.




                                       D
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 13 of 45 Page ID #:13




       17.   Based on my review of the recorded meeting,

 involvement in this investigation, and training and experience,

 I believe that GABAEE was asking CWl to perform an official act,

 specifically, to get SREs from County departments.               The SREs, in

 turn, would allow CWl to begin more formal lease negotiations

 with GABAEE.

       18.    Based on my review of the audio and video recording

 of that meeting and conversations with CWl, I am also aware that

 shortly after GABAEE and CWl discussed the Hawthorne Mall

 Development Project, they had the following conversation:

       CW1: Thousand?lo

       AG:   You need more?

       CW1: Eh, the holiday...

       AG:   How much [UI]...I wasn't sure, I brought...tell me how

             much money.

       CWl: Umm, you know, whatever...

       AG:   Tell me.

       CWl: ...might get something for [CW1's Daughter] or

             whatever...

       AG:   Tell me.

       CWl: Five hundred bucks.

       AG:   No [UI].

       CWl: No, five hundred's fine.

       AG:   Sure?

       CWl: Yeah.



      10 According to CWl and the recording, CW1 was referring to
 the $1,000 GABAEE gave CWl at this moment.


                                        10
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 14 of 45 Page ID #:14




       AG:    [UI] I brought more.

       CWl: I don't need more, you know,. you, you've been, look,

              every month for how long, have you been, you know?

       AG:    [CWl], don't worry about it...how much more do you

              need?

       CWl: Million dollars [laughs] .

       19.    From my review of the above exchange and conversations

 with CWl, I understand that GABAEE handed CWl $1,000 during the

 meeting but then offered to increase the amount of the bribe

 payment by $500.     In total, GABAEE gave CWl $1,500 during this

 meeting.11    I also believe that CWl's statement about GABAEE

 having paid him "every month for how long" corroborates CW1's

 statements to me that GABAEE had been paying him monthly bribes

 for a number of years.

       20.    Shortly after GABAEE had given CWl $1,500, GABAEE

 asked CWl why CWl appeared to be nervous.           GABAEE observed that

 CWl was not acting like his/her normal self and told CWl not to

 count the money in the open, as CW1 appeared to have been doing

 at the time.    Based on my training and experience, I believe

 that GABAEE was concerned about possible detection by law

 enforcement, which is one of the reasons he was concerned that

 CWl was not acting normally and that CWl was openly counting the

 bribe payment in plain view.




      11 Following CWl's meeting with GABAEE, the FBI met CW1 and
 collected $1,500 in United States currency from CW1, which CWl
 said GABAEE had given CWl during the recorded meeting. (The FBI
 searched CWl's person before this meeting and determined that
 CW1 had no cash on his/her person prior to the meeting.)


                                       11
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 15 of 45 Page ID #:15




         D.    During a Recorded Meeting, GABAEE Pays CW1 Another
               $1,500 Cash Bribe in Exchange for Official Acts
               Related to GABAEE's Hawthorne Mall Development Project

         21.   Based on my review of audio and video recordings and

 involvement in this investigation, I am aware that GABAEE and

 CWl met at a restaurant in Los Angeles on or about December 30,

 2016.    Based on my review of consensually recorded phone calls

 between GABAEE and CWl, involvement in this investigation, and

 training and experience, I believe that GABAEE wanted to meet

 with CWl to discuss, among other things, the Hawthorne Mall

 Development Project and also to alleviate GABAEE's concerns

 about CWl's demeanor during their prior meeting.

       22.     Shortly after the meeting began, GABAEE gave CWl

 $1,000 and asked CWl whether CWl needed "any more" money.               Later

 in the meeting, GABAEE gave CWl another $500.            Based on my

 training and experience and involvement in this investigation, I

 believe that GABAEE gave CW1 $1,500 as part of his continuing

 bribe payments to CWl in exchange for official acts related to

 the Hawthorne Mall Development Project, among other things.12

       23.      A short time later, during the same recorded

 meeting, CW1 and GABAEE had the following exchange regarding

 GABAEE's Hawthorne Mall Development Project and the potential

 for future County leases within the mall, including the DPSS

 lease:

       CWl: When are you pulling your permits on Hawthorne?


      1z Following CWl's meeting with GABAEE, the FBI met CWl and
 collected $1,500 in United States currency from CWl, which CWl
 said GABAEE had given CWl during the recorded meeting. (The FBI
 searched CW1's person before this meeting and determined that
 CWl only had $5 in cash on his/her person prior to the meeting.)


                                       12
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18    Page 16 of 45 Page ID #:16




       AG:   Hawthorne, probably in three weeks. We are mobilizing,

             getting bids, everything.

       CWl: Well you know, I moved, I've been trying...

       AG:   [UI] start construction by the end of January...

       CWl: Well I've been pushing, you know I had to, I put a big

             notice out on the street for Hawth...for Hawthorne, so

             that, so that it's out there so people can send stuff

             in.   Just makes it cleaner.

       AG:   No problem.    Can we just start negotiating that or no?

       CW1: I don't have the SREs, I put them at the top, but I

             gotta get the department...

       AG:   I need it, badly, I`m freakin' desperate.

       CW1: Arman, I'm trying anyway I can.

       AG:   But can I, should I do anything [UI].

       CW1: No, I gotta get DPSS to respond...

       24.   Based on my training and experience and involvement in

 this investigation, I believe GABAEE was asking CWl to perform

 an official act by attempting to obtain the SRE, which would

 have allowed CWl to begin more formal lease negotiations for

 DPSS to lease space in the Hawthorne Mall.               I believe that CWl's

 statement that he had to put a "big notice out on the street []

 for Hawthorne" to make "it cleaner" was a reference to CW1

 pretending to use the normal bidding process for County leases

 but in reality representing to GABAEE that CWl would give GABAEE

 favorable treatment.




                                        13
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 17 of 45 Page ID #:17




       E.     During a Recorded Meeting, GABAEE Pays CW1 a $1,000
              Cash Bribe and Offers to Purchase a Ranch in Northern
              California for CW1 in Exchange for Official Acts
              Related to GABAEE's Hawthorne Mall Development Project

       25.    Based on my review of audio and video recordings and

 involvement in this investigation, I am aware that GABAEE and

 CW1 met on or about January 27, 2017.          During this meeting,

 GABAEE gave CWl $1,000.13     Based on my training and experience

 and involvement in this investigation, I believe that GABAEE

 gave CW1 $1,000 as part of his continuing bribe payments to CWl

 in exchange for official acts related to the Hawthorne Mall

 Development Project, among other things.

       26.   During this recorded meeting, GABAEE also referenced

 the purchase of a property in Northern California, specifically

 a "ranch."    The following exchange took place:

       AG:   How's uhh...for the Northern Cal, should I start

             looking or...

       CW1: No, don't do anything.

       AG:   If you do Hawthorne, we can do this.           Remember you

             wanted to buy that ranch?

       CWl: Hahaha.

       AG:   I'm serious, I'm not joking with you.           You do Pomona,

             it only gets better.

       27.   Based on my review of this recording, conversations

 with CWl, involvement in this investigation, and training and

 experience, I believe that GABAEE was offering to purchase a



      13 Following CW1's meeting with GABAEE, the FBI met CWl and
 collected $1,000 in United States currency from CWl, which CW1
 said GABAEE had given CWl during the recorded meeting.


                                       14
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 18 of 45 Page ID #:18




 property in Northern California for CWl in exchange for CWl

 helping to secure the DPSS lease for GABAEE's Hawthorne Mall

 Development Project.14     Furthermore, I believe that GABAEE's

 reference to "Pomona" was a reference to another property that

 GABAEE owned in Pomona, for which he was also seeking a County

 lease.      When GABAEE told CWl that it "only gets better" if CW1

 "does Pomona," I believe GABAEE was offering to give CWl an even

 bigger bribe if CW1 helped secure a lease for the County to rent

 space in GABAEE's Pomona property.

       F.     During a Recorded Meeting, CW1 and GABAEE Discuss
              Details Regarding GABAEE's Proposal to Purchase a
              Property in Northern California as a Bribe for CWl

       28.     On or about January 30, 2017, CWl placed a recorded

 telephone call, utilizing the FBI's iTacc system, to GABAEE's

 Phone.      During the call, which I have reviewed, CWl began

 discussing "the Hawthorne deal" and GABAEE's offer to do

 "something up North."     GABAEE immediately said that the two

 should meet in person.      GABAEE said, "I don't want to talk on

 the phone."

       29.    Based on my training and experience, GABAEE's concern

 about discussing the matter on the phone shows consciousness of

 guilt, i.e. that GABAEE was concerned about law enforcement

 possibly surveilling their communications and gathering evidence

 of criminal activity.     In particular, I believe GABAEE did not

 want to discuss the purchase of the Northern California property



      14 The FBI first learned of GABAEE's offer to purchase
 property for CW1 after reviewing audio recordings from the
 December 30, 2016 meeting. CW1 had not previously told the FBI
 about this offer.


                                       15
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 19 of 45 Page ID #:19




 over the phone, because he knew such a purchase would be an

 illegal bribe payment to CWl.

       30.   Following an exchange of telephone calls over the next

 few days, GABAEE and CWl eventually agreed to meet at a

 restaurant for breakfast on or about February 2, 2017.               The FBI

 provided CWl with recording devices, and the meeting was audio

 and video-recorded.       I have reviewed that recording.

       31.   During the recorded breakfast meeting, GABAEE and CW1

 discussed the purchase of the Northern California property for

 CWl, in exchange for CW1 performing official acts related to

 GABAEE's Hawthorne Mall Development Project:

       CWl: How are we going to make it work for Northern

             California?

       AG:   I'm ready.    You tell me.      I'll roll my sleeves up, and

             I'll go make it work.

       CWl: You have someone that can start looking?

       AG:   Easy.    Not hard.

       CWl: You're talking a million and a half bucks up

             there.. .for small acreage.        It's almost as bad as

             here.

       AG:   Let me go ask my help and see what I can find.             You've

             got to give me an idea, like on a map.

       CWl: Just you know, in the Santa Rosa area.

       AG:   It's not that far from here.

       CWl: Santa Rosa.

       AG:   How far is it?     Just north of, north of Santa Barbara,

             right?



                                        16
Case 2:18-mj-01149-DUTY     Document 1    Filed 05/10/18    Page 20 of 45 Page ID #:20




       CWl: It's...no, Santa Rosa is, is an hour north of San

             Francisco.

       AG:   North of it?

       CW1: Yeah.

       32.   Based on my review of the recordings and involvement

 in this investigation, I understand that GABAEE told CWl to

 pinpoint a specific location for the property GABAEE would

 purchase for CWl.        CWl then identified "the Santa Rosa area,"

 which he explained is "north of San Francisco."

       33.   During this meeting, GABAEE also expressed concern

 that there were cameras in the restaurant.                He said: "There's

 cameras all over the fucking place.           You got...everywhere.         To

 your right, to the left, to the back, to the front...there are

 like fifty fucking cameras."        When CWl said, "eh, it's just

 security," GABAEE expressed concern again.                He said, "they can

 read your lips."    Based on my training and experience and

 involvement in this investigation, I believe that GABAEE's

 concern regarding the numerous security cameras in the

 restaurant again shows consciousness of guilt.               He appeared

 concerned about law enforcement surveilling their meeting and

 gathering evidence of GABAEE's bribe payments to CWl.

       G.    During a Recorded Meeting, GABAEE Pays CW1 Another
             $1,000 Cash Bribe and Says That He Is Looking "Hot and
             Heavy" for a Property in Northern California for CW1

       34.   On or about March 1, 2017, there was another audio and

 video-recorded meeting between GABAEE and CWl, which I have




                                         17
Case 2:18-mj-01149-DUTY   Document 1   Filed 05/10/18   Page 21 of 45 Page ID #:21




 reviewed.    During this meeting, GABAEE gave CWl $1,000.15           Based

 on my training and experience and involvement in this

 investigation, I believe that GABAEE gave CWl $1,000 as part of

 his continuing bribe payments to CW1 in exchange for official

 acts related to the Hawthorne Mail Development Project, among

 other things.

       35.   Based on my review of the March 1, 2017 recording,

 involvement in this investigation, and training and experience,

 I am also aware that, during this meeting, GABAEE again

 discussed his offer to purchase a property in Northern

 California for CWl, in exchange for CW1 performing official acts

 related to the Hawthorne Mall.        The following conversation took

 place:

       CW1: ...I can push the department and Employee 116 to get

             the thing [the deal for the Hawthorne Mall] going, but

             I have to do it in the right fashion.

       AG:   No, I don't disagree.

       CWl: You know, you were, uh, you were going to have your

             friend up North contact me or start looking.           Have you

             found anything?




      is Following CWl's meeting with GABAEE, the FBI met CW1 and
 collected $1,000 in United States currency from CWl, which CWl
 said GABAEE had given CWl during the recorded meeting.   (The FBI
 searched CWl's person and vehicle before this meeting and
 determined that.CWl only had $30 in cash on his/her person and
 $13 in cash in his/her vehicle prior to the meeting.)
      16 Based on my involvement in this investigation, I am aware
 that Employee 1 was a County employee who worked for CWl.
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 22 of 45 Page ID #:22




       AG:   I'm looking hot and heavy.         There's a site called

             foreclosures.com, that are like alert, foreclosure

             alert.

       CWl: Uh huh.

       AG:   And I contacted this Persian lady.           She's a hit and

             miss.    That's all she does, you know what I'm saying?

             But I have another person.         I'm gonna get more

             aggressive.

       CWl: Alright, well, ya know, if we're gonna move forward on

             Hawthorne, I wanna move forward on that [the property

             in Northern California].        So...

       AG:   I'm ready.



       CWl: ...let me use my influence to push them to go...

       AG:   I understand.

       CWl: ...a whole new lease and get it done before August.

       AG:   For the relocation?

       CWl: Just a lease in place, kind of like.            [Crosstalk.]

       AG:   I'd much rather have that.

       CWl: But, you know, if I push that [the lease for the

             Hawthorne Mall], you gotta get going for me.

       AG:   Are you kidding me?        Of course I'm gonna do that.



             The word I put out is that I want something with a

             little bit of land, if we can get it.            How much land

             do you [UI]?

       CW1: A couple of acres, just, you know, enough.



                                        19
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 23 of 45 Page ID #:23




       AG:   One or two acres?

       CWl: Yeah, you know, I'd like to be able to throw some

             goats on there and start making cheese.           [Laughter.]

             So look, I can put a deal together and influence DPSS

             to do it, if, if it looks good on paper.

       36.   Based on the above exchange, my involvement in this

 investigation, and my training and experience, I understand that

 GABAEE was promising to purchase a property in Northern

 California for CWl if CW1 agreed to perform certain official

 acts related to the Hawthorne Mall.         Those official acts

 included, but were not limited to, the following: (a) CWl

 putting a "deal together" for DPSS to lease space in the

 Hawthorne Mall; (b) CW1 using his/her "influence" to make DPSS

 agree to the terms of the lease; (c) CWl ensuring that the lease

 was drafted in such a way that it "look[ed] good on paper,"

 meaning that it did not appear suspect or raise concerns;

 (d) CWl using his/her "influence" to "push" to get the "whole

 new lease" for DPSS that GABAEE wanted; and (e) CW1 using

 his/her "influence" to expedite the negotiations and approval

 process to secure the new lease for GABAEE by August 2017.17

       37.   In addition, during this meeting, GABAEE reiterated

 the need for secrecy in their dealings related to the Northern

 California property.     The following exchange took place:




     '-' As previously mentioned, the County had previously leased
 space for DPSS and the Department of Community and Senior
 Services in or around the Hawthorne Mall. That lease was set to
 expire in or around August 2017, which was part of the reason
 why GABAEE wanted a new lease with the County for those
 departments.


                                       20
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 24 of 45 Page ID #:24




       AG:   So, I'm going to start getting really aggressive with

             the North.

       CW1: Alright.

       AG:   I was waiting for the market to go down [UI].

       CWl: Send me, send me any pictures of whatever you got.

       AG:   I'll figure out how to send it to you.           I don't want

             to...have to be careful.

       CWl: Eh, text it, no?

       AG:   No, you have to be more careful, man.

       CWl: Well, then print them off and just hand them to me.

       AG:   That's what I'm gonna do.

       38.   Based on the above exchange, my involvement in this

 investigation, and my training and experience, I understand that

 GABAEE did not want to create a traceable record of him

 providing pictures of properties in Northern California to CWl.

 I believe that GABAEE wanted to avoid creating a traceable

 record in order to avoid detection by law enforcement, because

 GABAEE knew that he was illegally offering to give CWl a bribe

 in exchange for official acts related to the Hawthorne Mall.

       H.    Following His Meeting With CW1, GABAEE Immediately
             Attempts to Locate a Property in Northern California

       39.   Shortly after the March 1, 2017 meeting, FBI Special

 Agents intercepted a brief call between GABAEE and an Unknown

 Female ("UF") on GABAEE's Phone.1e         Based on my knowledge of this



     '-a On February 28, 2017, the Honorable Manuel S. Real,
 United States District Court Judge, signed an order in CR Misc.
 No. 17-00230 authorizing the interception of wire communications
 to and from GABAEE's Phone for a period of 30 days. On March



                                       21
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 25 of 45 Page ID #:25




 case and review of the call, I believe that the OF was a realtor

 or someone otherwise involved in locating a property in Northern

 California for GABAEE to purchase for CW1.19             The following

 exchange took place20

       UF:   Hello, Mister Arman.

       AG:   Hello, ma'am, how...



       UF:   I am sorry, Mister Arman, look, I, with the girl who

             works out there.... Can you give me a little more

             information?     Exactly around Santa Rosa, meaning,

             what's the exact name of the area that you want to

             purchase?    Because Santa Rosa, meaning it's not one

             section that....     You are around San Francisco, is

             that right?

       AG:   Yes, yes, yes.

       UF:   Around San Francisco, can you tell me the area around

             there?   Or for instance, give me someone's phone


 29, 2017, in CR Misc. No. 17-00230(A), Judge Real authorized the
 continued interception of wire communications to and from
 GABAEE's Phone for another 30 days.
      19 Descriptions of intercepted communications are summaries
 based on my review of the recordings, understanding of the
 context of the recorded conversations, knowledge of this case,
 and my training and experience. These descriptions are not
 based on a final, verbatim transcript, and at times, I have
 included excerpts transcribed by myself, SA Torbic, or other FBI
 Special Agents or staff. I have placed my understanding of what
 is being said in brackets within the quotes.   In addition, where
 a portion of a conversation was unintelligible to me at the
 time, I have indicated as such with "UI." Since this affidavit
 is offered for a limited purpose, I have not included a
 description of every topic discussed or every statement
 contained in the intercepted communications.
      20 This call was translated from Farsi to English.              I do not
 speak or understand Farsi.


                                        22
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 26 of 45 Page ID #:26




             number, so I can call and ask exactly which location

             he/she is looking for?

       AG:   Okay, let me ask and then let you know.

       40.   Based on my involvement in this investigation, review

 of this call, and training and experience, I believe that GABAEE

 was speaking with the OF in order to locate a property in or

 around San Francisco or Santa Rosa as a bribe for CWl.

       I.    GABAEE Says That He Met with the "County" and That
             CW1 Is Going to "Push" to Get the DPSS Lease Signed

       41.   The day after GABAEE's meeting with CWl, FBI Special

 Agents intercepted a call on GABAEE's Phone between GABAEE and

 an Unknown Male ("UM") on or about March 2, 2017.             GABAEE told

 the UM that he "met with the County yesterday" and "this guy

 said he will package everything and push and get our lease

 signed."    The UM responded, "Oh, I heard that...Len mentioned

 that you had had some good news about the County."

       42.   Based on my review of this call, involvement in this

 case, and training and experience, I believe that GABAEE was

 referencing his meeting with CW1 the previous day and that "this

 guy" from the "County" was a reference to CW1.            I believe that

 GABAEE was explaining the official acts he expected CW1 to

 perform in exchange for the bribes from GABAEE.             In particular,

 the official acts included CWl "packag[ing] everything" and

 "push[ing]" to get the County to sign a "lease" to rent space

 for DPSS in the Hawthorne Mall.




                                       23
Case 2:18-mj-01149-DUTY   Document 1     Filed 05/10/18    Page 27 of 45 Page ID #:27




       J.      GABAEE Gives CW1 Real Estate Listings for Northern
               California Properties Valued at Around $1,000,000

       43.     On or about March 6, 2017, FBI Special Agents

 intercepted a call between GABAEE and Individual 1.                 The

 following exchange took place:

       IND1z1: Hey, I sent to [GABAEE's Assistant].z2             I said,

                 [GABAEE's Assistant], don't print these up, don't

                 send an email.    Ummm, I mean, don't send it through

                 email, but I sent [GABAEE's Assistant], umm that

                 friend of mine, uhh Santa Rosa...sent a bunch of

                 houses for you.

       AG:       I saw it.   I got it.

       INDl:     Okay, so you just need to tell me up down, you're

                 looking for something smaller, bigger, uh...

       AG:       I have a meeting with him.        I'm going to show it to

                 him.

       44.   On or about March 8, 2017, GABAEE then met with CWl

 during an audio-recorded meeting.          Based on my review of this

 recording and conversations with CWl following the meeting, I am

 aware that GABAEE gave CWl real estate listings for

 approximately 13 properties located in Northern California,

 including Santa Rosa, during this meeting.               The list prices for

 the properties ranged from approximately $899,000 to $1,288,888.




       21 "INDl" refers to Individual 1.
      22 Based on my involvement in this case, I understand that
 the person to whom Individual 1 sent the real estate listings is
 GABAEE's assistant at the Charles Company.


                                       24
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 28 of 45 Page ID #:28




       45.   Based on my involvement in this investigation, review

 of the recorded meeting, and training and experience, I believe

 that the listings for houses in Northern California referenced

 by Individual 1 during the above call are likely the same ones

 GABAEE then provided to CWl.      This is, in part, because GABAEE

 gave CWl real estate listings for houses in and around Santa

 Rosa following the call between GABAEE and Individual 1, and

 also because GABAEE stated during the call that he intended to

 "show it to him" at a "meeting with him."           GABAEE met with CWl

 approximately two days after this call and handed CWl real

 estate listings for houses in and around the Santa Rosa area.

 In addition, during their previous meeting on or about March 1,

 2017, GABAEE said that he would "print" and "hand" to CWl

 pictures of properties he located in Northern California.               The

 real estate listings GABAEE gave to CWl on or about March 8,

 2017 had pictures of the properties.

       46.   Furthermore, based on my involvement in this case and

 training and experience, I believe that Individual 1's strict

 instructions to GABAEE's Assistant not to email the listings

 show efforts to conceal their activities and likely

 consciousness of guilt, since emailing the listings could create

 a traceable record of their actions related to the purchase of

 the Northern California property.

       K.    GABAEE Tells a Local Official That He "Took Care
             of the County" and Expects to Receive a "New Lease"

       47.   The day after GABAEE had given CWl real estate

 listings for approximately 13 properties in Northern California,




                                       25
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 29 of 45 Page ID #:29




 FBI Special Agents intercepted a call between GABAEE and Local

 Official 1 on or about March 9, 2017.23          During the call, GABAEE

 said, "I also took care of the County."           GABAEE continued,

 "[he/she] gave me [his/her] word of honor that [he/she] would

 send the lease, the new lease."        Based on my training and

 experience and involvement in this investigation, I believe that

 GABAEE was referencing CWl getting the new DPSS lease for GABAEE

 in exchange for the Northern California property.             Specifically,

 when GABAEE said that he "took care of the County," I believe

 that was a reference to GABAEE's offer to purchase the property

 in Northern California as a bribe for CWl.

       48.   Furthermore, during the call, GABAEE repeatedly stated

 that he did not want to discuss things on the phone.              For

 instance, he told Local Official 1, "I can't tell you anything

 on the phone."    GABAEE also said, "I'm sorry; I don't want to

 say it on the phone."     Based on my training and experience and

 involvement in this investigation, I believe that GABAEE did not

 want to discuss his offer to purchase the Northern California

 property as a bribe for CVd1 on the phone, because he was

 concerned about law enforcement surveilling his calls.

       L.    GABAEE Offers to Purchase the Barnes Road Property,
             Listed for $1,199,000, in Northern California for CW1

       49.   On or about March 15, 2017, there was another audio

 and video-recorded meeting between GABAEE and CWl.             Based on my

 review of that recording, involvement in this investigation, and

 training and experience, I am aware that GABAEE and CWl


      23 This call was translated from Farsi to English.             As
 stated, I do not speak or understand Farsi.


                                       26
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 30 of 45 Page ID #:30




 discussed GABAEE purchasing a property on Barnes Road in Santa

 Rosa (the "Barnes Road Property") as a bribe for CWl.

         50.   According to the real estate listing, which GABAEE had

 given to CWl on or about March 8, 2017, as detailed above, the

 Barnes Road Property was located in Santa Rosa, in Northern

 California.      The list price was $1,199,000.         It had a 2,444

 square-foot home on 1.28 acres of land, as well as a "pool,"

 "horse barn," "arena," "lush gardens," and "200 acres of

 vineyard" surrounding the property.

         51.   During the March 15, 2017 recorded meeting, I am aware

 that GABAEE and CWl discussed the purchase of the Barnes Road

 Property, in particular how title for the property would be

 held.    GABAEE stated that the purchase "has to be in some kind

 of an LLC" and that GABAEE and CWl could "have nothing to do

 with it."      Based on my involvement in this case and training and

 experience, I believe that GABAEE wanted to purchase the

 property through a limited liability company, or "LLC," in order

 to disguise his ownership interest and the fact that he was

 purchasing the property as a bribe for CWl.             In the public

 record, GABAEE wanted it to appear as though neither he, nor

 CWl, had any interest or involvement in the Barnes Road

 Property.

       52.     During this meeting, CWl told GABAEE that he would

 have Employee 1 finalize and send the DPSS lease "by Friday."

 In response, GABAEE said, "I'l1 jump on this now."             Based on my

 review of the recording and involvement in this investigation, I

 understand GABAEE to be saying that he is going to "jump" on



                                       27
Case 2:18-mj-01149-DUTY    Document 1     Filed 05/10/18   Page 31 of 45 Page ID #:31




 purchasing the Barnes Road Property as soon as possible in

 exchange for CW1's efforts to secure the DPSS lease for GABAEE.

       53.   Finally, during this meeting, GABAEE again referenced

 the need for secrecy and confidentiality.             He told CWl, "you

 gotta be careful."       He warned CW1, "you speak very loudly."            He

 later told CW1 once more that CWl has to be "very careful."

 Based on my involvement in this case and training and

 experience, I believe GABAEE was concerned about others,

 particularly law enforcement, overhearing or uncovering GABAEE's

 plans to bribe CWl with the Barnes Road Property.

       M.    CW1 Tells GABAEE the DPSS Lease for the Hawthorne
             Mall Is Forthcoming and Inquires About the Status of
             GABAEE's Offer to Purchase the Barnes Road Property

       54.   On or about March 22, 2017, FBI Special Agents

 intercepted a call to GABAEE's Phone from CWl, which I have

 reviewed.    CWl left a voicemail for GABAEE.             Based on my review

 of that voicemail and involvement in this investigation, I am

 aware that CW1 informed GABAEE that the DPSS lease for the

 Hawthorne Mall would be sent to GABAEE the following week.                 CWl

 stated that Employee 1 "[was] running a little bit behind on

 getting that lease for Hawthorne out" and that it "probably

 isn't going to make it until Monday or Tuesday."               CWl then said

 that he/she was also calling "to find out if [GABAEE] [had]

 heard anything on, uhh, [the] property in Northern California."

 Based on my involvement in this investigation, I am aware that

 the "property in Northern California" was a reference to the

 Barnes Road Property and that CWl was inquiring about the status

 of GABAEE's offer to purchase that property for CW1.



                                        mss?
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 32 of 45 Page ID #:32




       55.   Later that evening, FBI Special Agents intercepted

 another call to GABAEE's Phone from CW1, which I have reviewed.

 CWl asked whether GABAEE had received CWl's "message about not

 getting the lease out until Monday or Tuesday."              GABAEE

 responded, "no problem."

       N.    GABAEE Tells CW1 That the Barnes Road Property Is
             Already in Escrow and Offers to Purchase Another
             Property in Northern California for CWl Instead

       56.   On or about March 24, 2017, FBI Special Agents

 intercepted a call between GABAEE and CTnll, which I have

 reviewed.    Based on my review of the call and involvement in

 this investigation, I am aware that GABAEE and CWl discussed the

 status of GABAEE's offer to purchase the Barnes Road Property

 for CWl.    The following exchange took place:

       AG:   I'm pretty stressed out.        What's going on with you?

       CWl: Nothing.      I was just touching base, seeing if, if we

             could get together next week.         See if everything is

             okay?     See if you heard any news back on anything?

       AG:   I called, I called, I called about that thing [the

             Barnes Road Property] and unfortunately it is in

             escrow.     I'm trying to put a back-up [offer] on it.

       CWl: Alright, well, you know.         Maybe we'll just have to

             look at something else.

       AG:   Yeah, take a look at that list.          If you don't like

             anything on that list, let me know.           I'll, I'll go

             find another list.

      57.    Based on my review of this call, involvement in the

 investigation, and training and experience, I believe that the



                                        29
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 33 of 45 Page ID #:33




 purchase of the Barnes Road Property for CWl did not take place

 because the property was already in escrow, as GABAEE noted.

 Although GABAEE stated that he would "try[] to put [in] a back-

 up [offer]" on the Barnes Road Property, he also told CW1 to

 "take a look at that list."      I believe "the list" was a

 reference to the 13 real estate listings for properties in

 Northern California that GABAEE had given CWl on or about March

 8, 2017.    From this exchange, I understand GABAEE to be telling

 CWl that he will either place an offer on another property from

 that list for CWl, or if CW1 does not like the other properties

 on that list, GABAEE will "go find another list," meaning that

 he will obtain additional real estate listings for CWl to

 review.

       O.    During a Recorded Meeting, GABAEE and CW1 Discuss the
             Status of the DPSS Lease for the Hawthorne Mall and
             GABAEE's Offer to Purchase a Property in Northern
             California for CWl; GABAEE Pays CW1 a $900 Cash Bribe

       58.   On or about March 30, 2017, FBI Special Agents

 intercepted a call to GABAEE's Phone from CWl, which I have

 reviewed.    CWl left a voicemail for GABAEE.           CWl stated that

 he/she was trying to get a hold of GABAEE to "touch base

 tomorrow on Hawthorne...and maybe Northern California."              Based

 on my involvement in this case, I understand "Hawthorne" to be a

 reference to GABAEE's Hawthorne Mall Development Project.               I

 also understand "Northern California" to be a reference to the

 property in Northern California that GABAEE offered to purchase

 for CWl in exchange for CWl performing official acts related to

 the Hawthorne Mall.




                                       30
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 34 of 45 Page ID #:34




         59.   In a subsequent intercepted call, which I have

 reviewed, GABAEE and CWl agreed to meet the following morning on

 or about March 31, 2017 at a restaurant for breakfast.              Based on

 my involvement in this investigation, I am aware that the FBI

 provided CWl with recording devices just prior to CW1's

 breakfast meeting with GABAEE.

         60.   I have reviewed the audio and video-recordings of the

 March 31, 2017 breakfast meeting.           Among other things, GABAEE

 and CWl discussed the DPSS lease for the Hawthorne Mall.               CWl

 told GABAEE that the County was "slowing down" for the time

 being on the DPSS lease for the Hawthorne Mall due to financial

 concerns.      CWl explained, "the State is pulling 150 to 500

 million dollars from DPSS's programs starting this year, and

 they're concerned that the Feds are going to pull funding."

 Rather than sign a long-term lease, CWl told GABAEE that the

 County wanted to sign a two-year lease instead.             GABAEE was not

 pleased with this development.        Later in the meeting, GABAEE

 said that this development was "really disappointing" and was

 putting him in a "bad position."           He said that he might have to

 go directly to a particular high-ranking elected official for

 assistance securing the long-term DPSS lease for the Hawthorne

 Mall.

       61.     During the same conversation, GABAEE and CWl also

 discussed the Northern California property.             GABAEE suggested

 that CWl "go there" (to Northern California) in order to "meet

 with the broker" directly and "see something."             CWl offered to

 look for properties too.      They both agreed that properties in



                                       31
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 35 of 45 Page ID #:35




  Northern California were selling quickly, so it was important to

 "respond fast," as CWl said, if either of them located a

 suitable property for GABAEE to purchase.

       62.   Finally, at the end of the meeting, GABAEE told CWl to

 go to the restroom and then, in the restroom, gave CWl $900.

 GABAEE said, "I'm one hundred dollars short."             Based on my

 involvement in this case and training and experience, I believe

 that GABAEE gave CW1 $900 as part of his continuing bribe

 payments to CW1 in exchange for official acts related to the

 Hawthorne Mall Development Project, among other things.24               I

 believe GABAEE said that he was a "hundred dollars short,"

 because the monthly bribe payments were usually $1,000 or more.

 Furthermore, I believe that GABAEE told CWl to go to the

 restroom for the exchange of the bribe payment in an effort to,

 among other things, avoid detection by law enforcement.

       P.    CW1 "Push[es] Hard" to Get the 10-Year DPSS Lease for
             GABAEE; GABAEE Is Thankful and Continues to Try to
             Purchase a Property in Northern California for CW1

       63.   On or about April 6, 2017, FBI Special Agents

 intercepted a call between GABAEE and CWl, which I have

 reviewed.    CWl told GABAEE that CWl had "good news."            "I stuck

 my neck out, pushed hard, had a meeting yesterday," CWl said.

 "Hawthorne can move forward," CWl stated.           "I'm gonna move

 forward with the 10-year."      GABAEE responded, "I can't thank you



      z4 Following CW1's meeting with GABAEE, the FBI met CWl and
 collected $900 in United States currency from CW1, which CWl
 said GABAEE had given CWl during the recorded meeting. (The FBI
 searched CW1's person before this meeting and determined that
 CWl only had $42 in cash on his/her person prior to the
 meeting.)


                                       32
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18    Page 36 of 45 Page ID #:36




 enough."     Based on my involvement in this investigation, I am

 aware that GABAEE wanted the County to enter into a long-term

 lease, whereby DPSS would rent space in the Hawthorne Mall for

 10 years.     As such, this appeared to be "good news" for GABAEE,

 as CWl said, particularly after their last meeting when CWl

 broke the news that the County, at that time, had only wanted a

 two-year lease.

       64.    After conveying the "good news" to GABAEE that CWl

 "pushed hard" and would be able to "move forward with the 10-

 year [lease]" for GABAEE, CW1 and GABAEE discussed GABAEE's

 efforts to purchase a property in Northern California for CWl.

 GABAEE said, "I am fully engaged on that."              Based on my

 involvement in this investigation, I believe that GABAEE was

 reassuring CW1 that he was working hard to find a property in

 Northern California to purchase for CWl, in exchange for CWl's

 efforts to secure the DPSS lease for GABAEE.

       65.   Shortly after this conversation, FBI Special Agents

 intercepted a call between GABAEE and Individual 1, which I have

 reviewed.    GABAEE and Individual 1 discussed the urgent need to

 locate a property in Northern California to purchase.               GABAEE

 told Individual 1 to see if "there's a way we can get that

 house."     Based on my involvement in this investigation and

 review of this call, I understand "that house" to be a reference

 to the Barnes Road Property that GABAEE had offered to purchase

 for CW1 but which had already gone into escrow with a different

 buyer.    Individual 1 told GABAEE that the Barnes Road Property

 already had a back-up offer and had sold.           Individual 1 promised



                                       33
Case 2:18-mj-01149-DUTY     Document 1   Filed 05/10/18   Page 37 of 45 Page ID #:37




 to keep GABAEE informed about any other properties that might

 become available.        GABAEE urged Individual 1 to be discrete,

 telling Individual 1 that he wanted "this to be confidential."

 Based on my involvement in this case and training and

 experience, I believe that one of the reasons GABAEE wanted to

 keep the matter "confidential" was because he knew that

 purchasing the property in Northern California as a bribe for

 CWl was illegal and he wanted to avoid detection by law

 enforcement.

       66.     The following day, on or about April 7, 2017, FBI

 Special Agents intercepted a call between GABAEE and Individual

 1, which I have reviewed.        Individual 1 conveyed some "good

 news" to GABAEE---Individual 1 had found another property in

 Santa Rosa that GABAEE could purchase.           The following exchange

 took place:

       IND1:     Hey, I have some other good news for you.           I think I

                 found another property in Santa Rosa.           Um...

       AG:       Okay.

       INDl:     I sent it to [GABAEE's Assistant], and said, "Hey,

                 make sure you show this to Arman."          Uh, as I'm

                 rushing back from Sacramento just trying to take a

                 look at it, but when you get in the office, if you

                 could take a peak at it, see if you think I should,

                 uh, keep looking at it.       Let me know.

       AG:       Fuck it.    If you think it is a good property, tie it

                 up.   Make the offer.

       IND1:     Yeah, that's...
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18    Page 38 of 45 Page ID #:38




       AG:     Make the offer.

       INDl:   Yeah, that's what I mean.         I'm gonna...I want to see

               it.     I'm on my way back from Sacramento.          I'm gonna

               go see it.

       AG:     Well, it's holding up a couple of things.              I need to

               buy this as soon as possible.



       AG:     ...if you think it's good, buy it up.

       INDl:   I think it's better than the other property [the

               Barnes Road Property].

       AG:     Okay, then tie it up.

       INDl:   Okay.

       AG:     Make the offer.     Have him make the offer.          It can't

               be under my name, unfortunately, but we'll figure

               out.

       INDl:   What entity did you want to put it in?

       AG:     Uh, do you have any entity you can sign for, or uh,

               you can put the assignee, and I'll take it into

               assignment.

       INDl:   Yeah, I'll work something out.            I'll work something

               out.

      AG:      If you don't mind, go ahead.         How much is it?

       INDl:   I think it's, uh, a million bucks.            A million...a

               million zero twenty-six.        Something like that...



      AG:      Go ahead and make the offer ASAP.

      67.    Based on my review of this call, involvement in this



                                       35
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 39 of 45 Page ID #:39




 investigation, and training and experience, I believe the above

 call between GABAEE and Individual 1 was about purchasing

 another property in Santa Rosa as a bribe for CWl in exchange

 for, among other things, CWl helping to obtain the DPSS lease

 for GABAEE's Hawthorne Mall Development Project.             GABAEE later

 told Individual 1 during the conversation that they had to keep

 the purchase "very, very confidential."           Based on my training

 and experience and the fact that GABAEE was attempting to

 purchase the property not "under [his] name," I believe that

 GABAEE wanted to keep the purchase "very, very confidential" in

 order to conceal the fact that he was illegally attempting to

 purchase this property as a bribe for CWl.

       Q.    CW1 Hands GABAEE the $45 Million DPSS Lease for the
             Hawthorne Mall; GABAEE Responds by Telling CW1 That He
             Is Making an Offer to Purchase the $1,095,000 Annadel
             Heights Property in Northern California for CWl

       68.   On or about April 10, 2017, FBI Special Agents

 intercepted a call between GABAEE and CWl, which I have

 reviewed.    GABAEE told CW1, "I made an offer on something."             CWl

 asked, "you saw something that looked good?"            GABAEE responded,

 "Yeah, I told them today to go ahead and make the offer; I don't

 want to lose it the second time."          Based on my involvement in

 this investigation, I believe that GABAEE was telling CWl that

 he was making an offer on the property that Individual 1 had

 recently located in Santa Rosa.        When GABAEE said that he did

 not "want to lose it the second time," I believe this was a

 reference to the fact that GABAEE was unable to purchase the

 Barnes Road Property, because it had gone into escrow with a




                                       36
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18   Page 40 of 45 Page ID #:40




 different buyer.      At the end of this call, GABAEE and CWl agreed

 to meet the following day in Westwood, California.

         69.   On or about April 11, 2017, there was an audio-

 recorded meeting between GABAEE and CW1 in Westwood.              From my

 review of that recording, debrief with CWl, and involvement in

 this investigation, I know that GABAEE and CW1 met briefly

 inside of GABAEE's car.      GABAEE noted the presence of "a lot of

 cameras" in the area, as if to suggest that he was uncomfortable

 meeting with CWl in that specific location, and appeared to

 drive to a different location nearby.          During this meeting,

 GABAEE gave CW1 the outstanding $100 that was missing from

 GABAEE's last cash bribe payment to CWl on or about March 31,

 2017.    (Previously, on or about March 31, 2017, GABAEE had given

 CWl $900 and said that he was "one hundred dollars short.")               At

 this meeting on or about April 11, 2017, when GABAEE gave CWl

 $100, GABAEE said "I owed you this, [CWl]; I was short."25

      70.      In addition, during this meeting in Westwood, CWl gave

 GABAEE a copy of the DPSS lease for the Hawthorne Mall.              The FBI

 obtained this lease from CWl, and I have reviewed it.              The

 parties to the lease are the County and M&A Gabaee, which is a

 California limited partnership in which GABAEE is a partner.

 Public records indicate that the address for M&A Gabaee is the

 same as that of the Charles Company.         The DPSS lease was for a

 period of 10 years and estimated to be worth at least



      25 Following CW1's meeting with GABAEE, the FBI met CWl and
 collected $100 in United States currency from CWl, which CW1
 said GABAEE had given CWl during the recorded meeting.



                                       37
Case 2:18-mj-01149-DUTY    Document 1   Filed 05/10/18   Page 41 of 45 Page ID #:41




 $45,464,400.26

         71.   After CWl handed GABAEE the $45 million DPSS lease,

 GABAEE responded by handing a real estate listing for a property

 on Annadel Heights Drive in Santa Rosa (the "Annadel Heights

 Property") to CWl.       GABAEE said, "this is the one [on which] I'm

 trying to make an offer."       Based on my review of this recording

 and the real estate listings GABAEE had given to CWl, I am aware

 that the Annadel Heights Property was originally listed for

 $1,199,000 but then later reduced to $1,095,000.             The home was

 approximately 3,000 square feet and sat on over eight acres of

 land.    After GABAEE showed the listing for the Annadel Heights

 Property to CWl, GABAEE asked, "what do you think?"             CWl

 responded, "it's good."       GABAEE then said that he told an

 individual, possibly Individual 1, to "make an offer around a

 million twenty."     Based on my review of that recording,

 involvement in this investigation, and training and experience,

 I believe that GABAEE offered to purchase the Annadel Heights

 Property for CWl as a bribe, in exchange for CWl performing

 official acts related to the County's DPSS lease for office

 space in the Hawthorne Mall.



       z6 Based on my review of the lease and conversations with
 CWl, I am aware that the DPSS lease provided for base monthly
 rent of $324,120, with the potential for an annual increase in
 rent up to three percent. Accordingly, over a period of 10
 years, the County was committing to pay at least $38,894,400 to
 GABAEE's company in rent alone, exclusive of the three percent
 increase.    Furthermore, the lease also provided a tenant
 improvement allowance of $6,570,000, for which, according to
 CLVl, the County would reimburse GABAEE's company. As such,
 between base rent and tenant improvements alone, the value of
 the lease for GABAEE's company was estimated to be worth at
 least $45,464,400.


                                        :.
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18   Page 42 of 45 Page ID #:42




       72.    Following GABAEE's meeting with CW1, FBI Special

 Agents intercepted a call on or about April 11, 2017 between

 GABAEE and Individual 1, which I have reviewed.              The following

 exchange took place:

      AG:       I just picked up the lease for the County for

                Hawthorne.




      AG:       I got the lease.

      INDl:     You the man.

      AG:       It will be three months before the lease is signed,

                but this was a huge, huge, huge step.

      INDl:     That's nice.    That's very nice.




      INDl:     I'll call [Individual 2] too, and I'll let

                [Individual 3] know that we gotta gear things back

                up for, uh, for Hawthorne for the County.

                [Crosstalk.]    I'm going to try to make that deal

                work too for us.     I just gotta talk to another

                realtor.

      AG:       I appreciate that.       Yeah, we gotta get that sooner

                than later.

      INDl:     Yeah, we'll talk tomorrow about it.

      AG:       No more time to nickel and diming it.           Just if you

                need to get it, get it...

      73.    Based on my review of this call, involvement in this

 investigation, and training and experience, I believe that

GABAEE and Individual 1 were discussing the urgent need to



                                        39
Case 2:18-mj-01149-DUTY    Document 1    Filed 05/10/18    Page 43 of 45 Page ID #:43




 purchase a property in Northern California, specifically the

 Annadel Heights Property, for CW1 now that CWl had taken the

 "huge step" of helping to obtain the 10-year DPSS lease for the

 Hawthorne Mall.

       74.   On or about April 15, 2017, FBI Special Agents

 intercepted a call between GABAEE and Individual 1, which I have

 reviewed.    Based on my review of the call and involvement in

 this investigation, I believe that Individual 1 provided an

 update regarding the purchase offer for the Annadel Heights

 Property in Northern California for CWl.            Individual 1 said, "I

 put an, they're writing an offer for that house."               GABAEE later

 told Individual 1, "the house is really important."               He

 continued, "I hope they accept our offer."               Individual 1 said

 that he would keep GABAEE "posted."

       R.    GABAEE Makes ~vo Offers to Purchase the
             Annadel Heights Property as a Bribe for CWl

      75.    On or about April 17, 2017, FBI Special Agents

 intercepted a call between GABAEE and CWl, which I have

 reviewed.    Based on my review of the call and involvement in

 this investigation, I am aware that GABAEE told CWl that he was

 signing an offer that day to purchase the Annadel Heights

 Property as a bribe for CWl.       The following exchange took place:

      AG:    I'm signing that offer today.

      CWl: Oh, really?

      AG:    Yeah, I have to do it myself.         There's just, just no

             way around.    You know what I mean?

      CWl: Yeah, alright....       If, if things go positive, we'll




                                        40
Case 2:18-mj-01149-DUTY   Document 1    Filed 05/10/18    Page 44 of 45 Page ID #:44




              just talk and figure it out.

       AG:    [UI] Good chance we get it.       I, I just want to make

              sure you're okay with it.

       CW1: That's fine with me.

       76.    Based on my review of this call and involvement in

 this investigation, I am aware that, due to logistical issues,

 GABAEE had to place the offer in his name.              He was unable to

 place the offer in another person's or entity's name, as he had

 hoped to do in order to conceal his interest in the property.

      77.     Furthermore, immediately after telling CWl that he was

 signing an offer on the Annadel Heights Property, GABAEE began

 discussing the possibility of more favorable terms for GABAEE

 with regard to the DPSS lease.        For instance, GABAEE asked, "any

 chance of getting a little more rent [from the County] up front

 or no?"     GABAEE also wanted to confirm that the County, not

 GABAEE, would be "paying for janitorial and utilities."               Based

 on my review of this call, involvement in this investigation,

 and training and experience, I believe that GABAEE was using his

 attempted purchase of the Annadel Heights Property for CWl as

 leverage to get CWl to push for more favorable and lucrative

 terms for GABAEE with regard to the DPSS lease.

      78.    On or about April 21, 2017, FBI Special Agents

 intercepted a call between GABAEE and CWl, which I have

 reviewed.    Based on my review of the call and involvement in

this investigation, I am aware that GABAEE and CW1 discussed the

status of the purchase offer for the Annadel Heights Property as

a bribe for CWl.     GABAEE said, "I signed the offer, and they



                                       41
Case 2:18-mj-01149-DUTY        Document 1    Filed 05/10/18   Page 45 of 45 Page ID #:45




 were checking my credit, making sure I can afford it."                   Based on

 my review of the purchase offers obtained from a realtor

 involved in the transaction and conversations with that realtor,

 I am aware that GABAEE ultimately did, in fact, offer to

 purchase the Annadel Heights Property.               His first offer was for

 approximately $1,035,000.             His second offer was for

 approximately $1,065,000.27

                                      V. CONCLUSION

       79.   For all of the reasons described above, there is

 probable cause to believe that GABAEE has committed a violation

 of 18 U.S.C. ~ 666(a)(2) (Federal Program Bribery).



                                                   ~s~
                                                 BRIAN C. ADKINS
                                                 Special Agent
                                                 Federal Bureau of Investigation

 Subscri ed to and sworn before me
 this      day of May, 2018.


         A~~.EX~1~;ER F. M~cKIN~(3N
 UNITED STATES MAGISTRATE JUDGE




      27 Based on my involvement in this investigation, I
 understand that after SA Torbic and I approached GABAEE on or
 about April 25, 2017 and informed GABAEE that the FBI was aware
 of his efforts to bribe CW1, GABAEE's offer on the Annadel
 Heights Property was promptly withdrawn within hours of the
 FBI's meeting with GABAEE. Based on my conversations with CW1,
 I am also aware that, following the FBI's April 25, 2017 meeting
 with GABAEE, GABAEE and/or his company may no longer be seeking
 the same DPSS lease from the County with the terms originally
 negotiated with CWl.


                                            42
